: Case 3:17-cv-00519-JAG Document 1-2 Filed 07/24/17 Page1of10Pa

   

CSC

 

CQW/ ALL

. . T ittal Number: 1690
Notice of Service of Process "hate Processed: O7/20/207¢

 

Primary Contact: WF West - WF Bank
Corporation Service Company- Wilmington, DELAWARE
2711 Centerville Rd
Wilmington, DE 19808

 

Entity:

Entity Served:

Title of Action:
Document(s) Type:
Nature of Action:
Court/Agency:
Case/Reference No:
Jurisdiction Served:
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How Served:

Sender Information:

Client Requested Information:

Weils Fargo Bank, National Association
Entity ID Number 2013649

Wells Fargo Bank, N.A.

Anthony D. Phillips vs. Wells Fargo Bank, N.A.
Notice and Complaint

Contract

Chesterfield City Circuit Court, Virginia
CL17-1892

Virginia

07/20/2017

07/25/2017

CSC

Personal Service

Palmer E. Hurst
757-480-0060

Matter Management User Groups: [Service of Process]

 

Notes: Notice of Hearing / Complaint and Request for Preliminary Injunction

Information contained on this transmittal form is for record keeping, notification and forwarding the attached documeni(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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Case 3:17-cv-00519-JAG Document 1-2 Filed 07/24/1¥ Page 2 of 10 PagelD# 9
. “. a

VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF CHESTERFIELD

Anthony D. Phillips )
)

and )
)

Rebecca E. Phillips )
)
)

Plaintifs,, ) NOTICE

)
)

Vv. ) Case Number: CL17-1892
)

Wells Fargo Bank, N.A. )
)

and )
)

Samuel I. White P.C. )
)

Defendants.
NOTICE OF HEARING

Please take notice that a hearing has been scheduled for July 25, 2017 at 9:00 a.m. to hear

the previously filed request for Preliminary Injunction.

Respectfully,

 
   

almer E. Hurst VSB# 90804
Heath J. Thompson VSB #66748
Heath J. Thompson, P.C.

4224 Holland Road Suite 108
Virginia Beach, VA 23452

(757) 480-0060 (P)

(757) 257-0088 (F)
Palmer@heaththompson.com
Counsel for Plaintiffs
Case 3:17-cv-00519-JAG Document 1-2 Filed 07/24/17 Page 3 of 10 PagelD# 10

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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on the 20" day of July 2017 I caused the foregoing Notice of
Hearing to be served via personal service on:

Wells Fargo Bank, N.A.

R/A Corporation Service Company
Bank of America Center, 16" Floor
1111 E. Main Street

Richmond, VA 23219

and

Samuel I. White P.C.
R/A William Adam White
5040 Corporate Woods Drive, Suite 120

Virginia Beach, VA 23462 Lh .
: or * .
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Palmer E, Hurst, VSB# 90804
Heath J. Thompson, VSB# 66748
Heath J. Thompson, P.C.

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Virginia Beach, VA 23452
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Case 3:17-cv-00519-JAG Document 1-2 Filed 07/24/17 Page 4 of 10 PagelD# 11

VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF CHESTERFIELD

Anthony D. Phillips
11865 Winterpock Road
Chesterfield, VA 23838

and

Rebecca E. Phillips
11865 Winterpock Road
Chesterfield, VA 23838

Plaintiffs,

Vv.

Wells Fargo Bank, N.A.

R/A Corporation Service Company
Bank of America Center, 16 Floor
1111 E. Main Street

Richmond, VA 23219

and

Samuel I. White P.C.
R/A William Adam White

5040 Corporate Woods Drive, Suite 120

Virginia Beach, VA 23462

Defendants.

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COMPLAINT

Case No: { | Am b)1B42 -00

Complaint and Request for Preliminary Injunction

To the Honorable Judge of Said Court:

Pursuant to Virginia Law, Plaintiffs, Anthony D. Phillips (“Mr. Phillips”) and Rebecca

E. Phillips (“Mrs. Phillips”) file this Complaint, and state upon information and beliefs as

follows:

I. Parties
Case 3:17-cv-00519-JAG Document 1-2 Filed Q7/24/1:7 Page 5 of 10 PagelD# 12

1. Plaintiffs are natural persons who reside in the Commonwealth of Virginia at 11865
Winterpock Road ("the property") in the city of Chesterfield, Virginia.

2. Wells Fargo Bank, N.A. (“Wells Fargo”), is a for profit business entity doing business in
the Commonwealth of Virginia.

3. Samuel I. White P.C (“Substitute Trustee”), as substitute trustee, is a for profit business
entity doing business in the Commonwealth of Virginia.

II. Facts

4, Plaintiff owns a tract of land in the City of Chesterfield which is described as follows:

Containing 27.0+/- acres, as shown on survey, recorded with
corrected deed of gift recorded in Book 7115, page 0296, with
improvements thereon.

5. Plaintiffs entered into a mortgage loan contract (“the loan’) in May of 2006 in which the
Plaintiffs were the borrowers. The loan was evidenced by a note (“the Note”) and secured
by a deed of trust (“the Deed of Trust”), both of which were valid contracts signed by the

Plaintiffs.
6. The deed of trust sets forth the following:

"This Security Instrument shall be governed by federal law and the law of the jurisdiction
in which the Property is located. All rights and obligations contained in this Security
Instrument are subject to any requirements and limitations of Applicable Law."

7. The deed of trust defines "Applicable Law" as "all controlling applicable federal, state
and local statutes, regulations, ordinances and administrative rules and orders (that have
the effect of law) as well as all applicable final, non-appealable judicial opinions."

8. The Plaintiffs fell behind in 2012, after reaching out to Wells Fargo to inquire about their
loss mitigation options.

9. The Plaintiffs were not behind on the mortgage at that time, but wanted to possibly obtain
a lower payment and interest rate.
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10. Since the Plaintiffs were current at that time, a representative from Wells Fargo informed
them that they could only apply for a loan modification or loss mitigation options if they
were behind on their monthly payments.

11. The representative informed Mrs. Phillips that once they were behind on payments, a
loan modification would be available to them.

12. Shortly after falling behind, the Plaintiffs began submitting paperwork to Wells Fargo to
be reviewed for their loss mitigation options.

13, After a few months of being in review with Wells Fargo, the Plaintiffs reached out to
NACA, Neighborhood Assistance Corporation of America to assist them with the review.

14. NACA worked on the Plaintiffs behalf for about 9 months, until Wells Fargo denied the
loan modification package.

15, Despite the fact that Wells Fargo failed to inform the Plaintiffs, over the phone or in
writing, of all loss mitigation options available to them.

16. In June of 2013, Mr. Phillips filed for bankruptcy to post pone a pending foreclosure sale
that was scheduled after his loan modification package was denied.

17. During the course of the bankruptcy, payments were made from Mr. Phillips to Wells
Fargo over the course of several years. ;

18. Due to a high bankruptcy payment, the Plaintiffs had difficulty maintaining the payments
directed for the mortgage.

19, However, Mrs. Phillips would make payments when she was able to.

20. Mr. Phillips is now making arrangements to dismiss his bankruptcy case and is willing
and able to begin making regular monthly mortgage payments again.

21. Recently, the Plaintiffs hired Heath J. Thompson P.C. (“HJTPC”) to assist them with
their upcoming foreclosure sale.

22. On July 13, 2017 a representative from Wells Fargo, “Thomas” informed HJTPC that the
Plaintiffs could not be submitted for a loan modification review due to the pending
auction and a package had to be submitted 38 days before the auction date.

23. The Plaintiffs did not receive notice of the auction until June 27, 2017, which is less than
38 days before their scheduled auction date. .

24. Despite this, Wells Fargo has not postponed the upcoming foreclosure auction, scheduled
for July 27, 2017.
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25. As of the filing of this suit, the defendant Substitute Trustee intends to sell Plaintiff's

property at auction on July 27, 2017 at 8:30 a.m.

Plaintiff alleges:

Til. Violation of Regulation X

Incorporating Paragraphs 1-25:

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32.

Wells Fargo has violated the Real Estate Settlement Procedures Act (RESPA) Regulation
X also known as 12 CFR 1024.

12 CFR 1024 requires that a loan servicer provide a delinquent borrower a written notice
about loss mitigation which must be dispatched to the borrower’s primary residence. In
addition, this notice must be clear and conspicuous listing the loss mitigation options
available and inform the borrower of their designated point of contact.

Wells Fargo did not dispatch any 0 of the required written notices to Plaintiffs within 45
days of their delinquency.

12 CFR 1024 (“Regulation X”) requires a servicer to cease foreclosure activity on a loan
when a loss mitigation application is received by the servicer more than thirty-seven GB 7)
days prior to a scheduled foreclosure sale.

Plaintiffs received notice of the foreclosure sale on June 27, 30 days before the scheduled
sale. Wells Fargo’s negligence made it impossible for Plaintiffs to submit a full and
complete loan modification application 38 days before the auction date.

Wells Fargo has placed and now maintains a foreclosure sale date of July 27, 2017,
despite the fact that the Plaintiffs could not have submitted a loan modification within the
38 days necessary to stop the foreclosure sale because they received notice of the sale

only 30 days before the scheduled date.

Plaintiffs have been damaged by Wells Fargo’s violation of the CFPB guidelines to the
point at which they will lose the home due to Wells Fargo’s negligence.
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IV. The Defendant’s Actions Constitute a Breach of the Duty of Good Faith and Fair
Dealing as Provided in the Deed of Trust and Note

Incorporating Paragraphs 1-32:
33. The Note and Deed of Trust are valid binding, contracts.

34, Wells Fargo has a duty to exercise its rights under the Deed of Trust and Promissory Note
in good faith.

35, Every contract imposes an obligation of good faith in its performance and enforcement.

36. Wells Fargo breached this duty by falsely informing the Plaintiffs that they had to be
delinquent on their mortgage to qualify for a loan modification.

37, Additionally, Wells Fargo breached their duty of good faith by failing to service the loan
in accordance with the Consumer Financial Protection Bureau’s regulations, effectively
making it impossible for Plaintiff to exercise their loss mitigation options.

V. Preliminary Injunction
Incorporating Paragraphs 1-37:

38. A Preliminary Injunction in Virginia requires two elements be met. The first requirement
is a showing of lack of an adequate legal remedy. The second element is a balance of »

hardships between the parties involved.

39. The “balancing the hardships” of the parties is divided into four factors:
a. likelihood of irreparable harm to the plaintiff if the preliminary injection is not

granted
the likelihood of harm to the defendant if the preliminary injunction is granted;

the likelihood the plaintiff will succeed on the merits; and
the public interest.

Bo Ss

40. There is no legal remedy available to the Plaintiffs besides an injunction. A preliminary
injunction would preserve the status quo until the complaint can be reviewed and the
matter adjudicated, there is no other remedy at law to stop or postpone the foreclosure

activity.

41. Based on the “balancing the hardships” factors, the Plaintiffs are entitled to an Injunction
to stop the scheduled foreclosure sale of their home.
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42. The likelihood of irreparable harm to the Plaintiffs is exponentially grave in comparison
to the minor harm to the Defendants as the Plaintiffs will immediately lose their home to
an improperly scheduled foreclosure sale.

43. Any harm to the Defendants would be minor as it would only consist of the costs of
having to re-advertise the sale. However, this harm would be transferred to the Plaintiffs
as the Deed of Trust allows for Wells to charge Plaintiffs’ account for any foreclosure

costs and fees.

44, Plaintiffs are likely to succeed on the merits of this case as the Defendants clearly and
blatantly violated the obligations and duties imposed upon them as a loan servicer and
substitute trustee.

45, Finally, the actions taken by Wells Fargo and Substitute Trustee are in violation of public
policy, undermine government efforts to improve the economy during the current fiscal
crisis, and directly results in harm to the public good. Granting the injunction would,
therefore, not adversely affect the public interest.

WHEREFORE, your Plaintiff prays that the Court ENJ OIN and RESTRAIN Defendants
and each of them, their servants, agents, employees or other parties acting on their behalf from
_instituting foreclosure proceedings on the instant property until such time as this Complaint may
be adjudicated, Any foreclosure action taken by Defendant Bank should be deemed non-
enforceable. Plaintiff also requests compensatory damages against Wells Fargo Bank, N.A. in the

amount of TWENTY-FIVE THOUSAND DOLLARS AND NO CENTS ($25,000.00).

Respectfully Submitted,
Anthony D. Phillips
Rebecca E. Phillips

, / bees LB
Palmer E, Hurst, VSB #90804

Heath J. Thompson VSB#66748
Counsel for Plaintiff:

Heath J. Thompson, P.C.

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palmer@heaththompson.com
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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on the 17" day of July, 2017, I caused the foregoing
Complaint to be served via personal service and Sheriff’s Service on:

Wells Fargo Bank, N.A.

R/A Corporation Service Company
Bank of America Center, 16“ Floor
1111 E. Main Street

Richmond,VA 23219

and

Samuel I. White P.C.

R/A William Adam White

5040 Corporate Woods Drive, Suite 120
Virginia Beach, VA 23462

  

 

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